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5    Counsel for Amici Curiae Legal Scholars                             * Pro hac vice application forthcoming
6
7                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
8                                      SAN FRANCISCO DIVISION
9
10    CARLOS DADA, SERGIO ARAUZ,
      GABRIELA C. GUTIERREZ, JULIA
11    GAVARRETE, ROMAN GRESSIER,                                Case No. 3:22-cv-07513
      GABRIEL LABRADOR, ANA B.
12    LAZO ESCOBAR, EFREN LEMUS,                                Hon. James Donato

13    CARLOS MARTINEZ, OSCAR
                                                                Hearing date not set
      MARTINEZ, MARIA L. NOCHEZ,
14    VICTOR PENA, NELSON R.                                    MOTION FOR LEAVE TO FILE
      ZABLAH, MAURRICIO S.                                      BRIEF OF LEGAL SCHOLARS AS
15    SARIANO, JOSE L. SANZ, DANIEL                             AMICI CURIAE IN SUPPORT OF
      R. MARTINEZ, DANIEL                                       PLAINTIFFS’ OPPOSITION TO
16                                                              DEFENDANTS’ MOTION TO
      LIZARRAGA, and CARLOS L.
                                                                DISMISS
17    SALAMANCA,

18            Plaintiffs,
      v.
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20
21    NSO GROUP TECHNOLOGIES
      LTD, and Q CYBER
22    TECHNOLOGIES LTD,
23
              Defendants.
24
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28
                  Motion for Leave to File Brief of Legal Scholars as Amici Curiae in Support of Plaintiffs’ Opposition
                                      to Defendants’ Motion to Dismiss (Case No. 3:22-cv-07513)
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1            Amici curiae are legal scholars at law schools throughout the United States who specialize in
2    civil procedure and other issues relevant to this case. They respectfully move the Court for leave to
3
     file the attached brief in support of the plaintiffs. The plaintiffs consent to this request. Counsel for
4
     amici curiae do not know the position of the defendants. Their counsel declined to say whether they
5
     would oppose this request despite multiple attempts to ascertain their position.
6
7            Amici wish to file the attached brief to share their professional views regarding the arguments

8    advanced by NSO Group in moving to dismiss the claims for lack of personal jurisdiction. The brief

9    responds to two arguments that NSO makes in contesting specific personal jurisdiction. First, NSO
10   argues that the traditional three-part “minimum contacts” inquiry is inapplicable to tort cases and
11
     that the plaintiffs must instead satisfy the “effects test” derived from Calder v. Jones, 465 U.S. 783 (1984).
12
     Second, NSO argues that jurisdiction is proper under that test only if the plaintiffs were injured in
13
     the forum state. As this brief explains, both arguments are wrong and conflict with binding precedent.
14
15           The full list of amici is as follows: William Aceves is the Dean Steven R. Smith Professor of

16   Law and Associate Dean for Assessment and Teaching at California Western School of Law. His

17   teaching areas include civil procedure, international law, and human rights. He works on projects
18   involving the domestic application of international law and has written extensively in this field. He
19
     has represented several organizations and legal scholars as amicus curiae in cases before the federal
20
     courts, including the Supreme Court. He is also a member of the American Law Institute.
21
             William C. Banks is the College of Law Board of Advisors Distinguished Professor of Law
22
23   at Syracuse University College of Law. He has authored numerous articles and has written or edited

24   several books, including National Security Law and Constitutional Law: Structure and Rights in Our Federal

25   System. He previously served as a Special Counsel to the U.S. Senate Judiciary Committee.
26
             Maggie Gardner is a Professor of Law at Cornell Law School. She is a scholar of civil
27
     procedure and international law and is a founding editor of the Transnational Litigation Blog. Her
28                                                  -1-
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1    scholarship on international litigation in U.S. courts has been published in such journals as the
2    University of Pennsylvania Law Review, Virginia Law Review, NYU Law Review, and Stanford
3
     Law Review.
4
             Helen Hershkoff is the Herbert M. and Svetlana Wachtell Professor of Constitutional Law
5
     and Civil Liberties at New York University School of Law. She is a co-author of a leading civil-
6
7    procedure casebook and co-author and co-editor of Civil Litigation in Comparative Context, now in its

8    second edition. She is also part of the author team of Wright and Miller’s Federal Practice & Procedure.

9            Adam Steinman is the Robert W. Hodgkins Endowed Chairholder in Law at the
10   University of Alabama School of Law and was recently the Sidley Austin-Robert D. McLean Visiting
11
     Professor of Law at Yale Law School (Fall 2022). He has authored numerous articles and has co-
12
     written several books, including Civil Procedure: Cases and Materials and Federal Courts: Cases, Comments
13
     and Questions. He is also a co-author of the Wright & Miller Federal Practice & Procedure treatise volumes
14
15   covering personal jurisdiction.

16           Julie C. Suk is a Professor of Law at Fordham University School of Law, where she teaches

17   civil procedure and comparative constitutional law. She is an interdisciplinary legal scholar who has
18
     written two books and numerous articles on women and gender equality in global perspective. Her
19
     research interests include constitutional and social change, antidiscrimination law, civil litigation as
20
     an enforcement mechanism for public law, access to justice, political and legal theory, and law and
21
     literature.
22
23   Dated: May 26, 2023                                                 Respectfully submitted,
24                                                                       /s/ Jennifer D. Bennett
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